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                                                            6
                                                                                          UNITED STATES BANKRUPTCY COURT
                                                            7
                                                                                                     DISTRIC T OF NEVADA
                                                            8
                                                                In Re:                                              BK: 14-15065-LED
                                                            9                                                       Chapter 13
                                                           10   IDDAH GITONGA.
                                                           11

                                                           12
COHEN-JOHNSON, LLC

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                                                           13
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                           Las Vegas, Nevada 89119




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                                                           15                    NOTICE OF VOLUNTARY DISMISSAL OF CHAPTER 13
                                                                                          BANKRUPTCY PROCEEDINGS
                                                           16

                                                           17            NOTICE IS HEREBY GIVEN THAT Debtor, Iddah Gitonga, pursuant to 11 U.S.C. §

                                                           18   1307(b) Debtor hereby elects to voluntarily dismiss the afore-mentioned Chapter 13 proceeding.
                                                           19            Dated this 14th of April, 2015.
                                                           20
                                                                                                              COHEN-JOHNSON, LLC
                                                           21

                                                           22                                          By:    /s/ H. Stan Johnson, Esq.
                                                                                                              H. Stan Johnson, Esq.
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